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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 0:21-60278-RS

 YAMEL GONZALEZ,

        Plaintiff,
 vs.

 CHRISTAL TRANSPORT, LLC
 and ORALDO SOSA,

      Defendants.
 ___________________________/

   JOINT MOTION TO APPROVE SETTLEMENT AND DISMISS WITH PREJUDICE
              WITH INCORPORATED MEMORANDUM OF LAW

        Plaintiff, Yamel Gonzalez (“Plaintiff”), and opt-in plaintiffs, Leiner Rodriguez and

 Jairo Michel Garcia (collectively referred to as “Opt-In Plaintiffs”), and Defendants,

 Christal Transport, LLC and Oraldo Sosa (collectively referred to as “Defendants” and

 together with Plaintiff and Opt-In Plaintiffs, “the Parties”) hereby file this Joint Motion to

 Approve Settlement and Dismiss with Prejudice and state as follows:

                                 FACTUAL BACKGROUND

        1.      Plaintiff’s Complaint was filed on February 3, 2021. In the Complaint,

 Plaintiff alleges a claim for unpaid overtime compensation under the Fair Labor Standards

 Act (“FLSA”). [ECF No. 1]

        2.      On March 5, 2021, Defendants filed their         Answer and Statement of

 Defenses to the Complaint [ECF No. 16], and asserted, inter alia, that: (1) Plaintiff was

 an independent contractor and not an employee under the FLSA; (2) Plaintiff’s claim was

 subject to exemptions contained in Section 13(b)(1) of the FLSA; and (3) Plaintiff’s claim

 for liquidated damages could not be sustained because any acts or omissions giving rise



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 to this action were done in good faith and with reasonable grounds for believing that the

 actions or omissions were not a violation of the FLSA.

        3.     The Court issued a Scheduling Order setting forth the trial period and

 related discovery and pretrial deadlines on March 9, 2021. [ECF No. 17].

        4.     Opt-In Plaintiffs filed their opt-in notices on April 11, 2021.

        5.     In an effort to avoid the uncertainties of litigation, the Parties have

 negotiated a compromise and reached a settlement of this matter during a mediation on

 June 1, 2021, which included a reasonable amount for attorneys’ fees and costs.1

        6.     The Parties jointly submit to the Court that there has been a sufficient

 investigation and exchange of information to allow counsel for Plaintiff and Opt-In

 Plaintiffs and Defendants to evaluate the Parties’ claims and defenses and make

 recommendations regarding the resolution of Plaintiff’s and Opt-In Plaintiffs’ FLSA claims

 in this matter.

        7.     The Parties stipulate that the negotiated compromise and settlement

 reached between the Parties represents a “fair” resolution of Plaintiff’s and Opt-In

 Plaintiffs’ FLSA claims, as well as their reasonable attorneys’ fees and costs. The Parties

 also stipulate that the settlement reached between them advances judicial economy.

                                 MEMORANDUM OF LAW

        The Parties advise the Court that they have obtained sufficient information to allow

 them to make informed decisions after having the opportunity to analyze their respective

 claims and defenses. The Parties also respectfully submit that this settlement should be



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        The Parties request authorization to submit the settlement agreements to the
 Court’s chambers so that they may be reviewed in camera as the settlement agreements
 contain confidentiality clauses.

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 approved by the Court as fair and reasonable. See 29 U.S.C. § 216(c); Lynn’s Food

 Stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir. 1982). Pursuant to Lynn’s

 Food, claims arising under the FLSA may be settled or compromised only with the

 approval of the Court or Secretary of Labor. If the settlement reflects a reasonable

 compromise over issues that are actually in dispute, the Court may approve the

 settlement “in order to promote the policy of encouraging settlement of litigation.” Id. at

 1354. Courts of this district have routinely recognized a “strong presumption” in favor of

 finding a settlement fair. See, e.g., Brenowitz v. Implant Seminars, Inc., No. 17-20184-

 CIV-GOODMAN, 2017 WL 3438879, at *3 (S.D. Fla. August 10, 2017); Arce v. Doral

 Costa Services, LLC, No. 17-22892-CIV-COOKE, 2017 WL 8794710, at *1 (S.D. Fla. Oct.

 31, 2017).

          At all times material hereto, the Parties were represented by counsel experienced

 in litigating FLSA claims.    Both the terms and conditions of the Parties’ settlement

 agreements and the settlement amounts were the subject of arms-length negotiations

 between counsel and a mediator who specializes in employment law (Marlene Quintana,

 Esq.). The settlement amounts were based on information learned during the litigation.

 The Parties, therefore, respectfully submit that the settlement agreements they have

 entered into represent a reasonable compromise of the Parties’ claims consistent with the

 intent and purpose of the FLSA and the requirements of Lynn’s Food. See Fernandez v.

 A-1 Duran Roofing, Inc., No. 12-cv-20757, 2013 WL 684736 at *1 (S.D. Fla. Feb. 25,

 2013).

          Based on the foregoing, the Parties respectfully submit that the settlements

 reached were a reasonable compromise that were arrived at after due consideration.




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 Pursuant to Lynn’s Food, the Parties request that the Court approve the Parties’

 settlements as fair and reasonable and dismiss this case with prejudice.

 Respectfully submitted,

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